          Case 1:25-cv-00799-RCL                Document 60            Filed 05/30/25         Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    RFE/RL, INC.,

           Plaintiff,

    v.                                                                  Case No. 1:25-cv-799-RCL

    KARI LAKE, in her official capacity as
    Senior Advisor to the Acting CEO of the
    United States Agency for Global Media, et
    al.,

           Defendants.


                                         MEMORANDUM ORDER

          Before the Court is Plaintiff RFE/RL’s Renewed Motion [ECF No. 56] for a Temporary

Restraining Order (TRO)1 seeking to enjoin the defendants, the U.S. Agency for Global Media

(USAGM) and the acting leadership of the agency, to immediately disburse $12,174,979 in

congressionally appropriated funds to cover RFE/RL’s expenditures for the month of May 2025.

          The Court assumes familiarity with the factual and procedural background of this case,

detailed at length in numerous opinions. See RFE/RL, Inc. v. Lake, --- F. Supp. 3d ---, No. 25-cv-

799-RCL, 2025 WL 1232863 (D.D.C. Apr. 29, 2025) (“April TRO”) (ordering the government to

disburse congressionally appropriated funding to RFE/RL for the month of April); Widakuswara

v. Lake, --- F. Supp. 3d ---, No. 25-cv-1015-RCL, 2025 WL 1166400 (D.D.C. Apr. 22, 2025);

RFE/RL, Inc. v. Lake, --- F. Supp. 3d ---, No. 25-cv-799-RCL, 2025 WL 900481 (D.D.C. Mar. 25,

2025).


1
  In this lawsuit, RFE/RL has moved for two forms of preliminary relief: 1) a renewed TRO, which is the motion at
issue in the instant Order, and 2) a preliminary injunction (PI), which would order the defendants to effectuate a grant
agreement with RFE/RL to disburse congressionally appropriated funds through September 30, 2025. See Mot. for
TRO, ECF No. 56; Mot. for PI, ECF No. 41. The PI Motion remains under advisement. With the instant Order, the
Court only resolves the renewed TRO Motion.



                                                           1
        Case 1:25-cv-00799-RCL           Document 60        Filed 05/30/25      Page 2 of 4




       The parties are in virtually the exact same situation that they were in one month ago, when

this Court granted the April TRO. USAGM has once again refused to enter into a one-month

“extender” agreement to cover RFE/RL’s May funding while negotiations for a FY 2025 Master

Grant Agreement can meaningfully take place. And again, we have reached the end of the month,

and RFE/RL has not received the congressionally appropriated funds that it would customarily

receive at the beginning of the month. The Court’s reasoning that justified the entry of the April

TRO applies with equal force now.

       The defendants highlight one factual development since April: The European Union has

announced an intent to provide $6.2 million in funding to RFE/RL. See TRO Opp’n at 3–4

(collecting various news sources). Specifically, on May 20, 2025, the High Representative of the

European Commission indicated that the European Union intends to provide €5.5 million

(approximately $6.25 million) to the European Endowment for Democracy (“EED”), and that

some portion of those funds will ultimately be provided to RFE/RL. Sixth Decl. of Stephen Capus,

President of RFE/RL (“Sixth Capus Decl.”) ¶¶ 2–3, ECF No. 58. In light of this announcement,

the defendants argue that RFE/RL can no longer make the requisite showing of irreparable harm

to justify court intervention at this time. TRO Opp’n at 4. But as RFE/RL explains in their Reply,

RFE/RL does not expect to receive any of those funds before June 30, 2025—and without any

funding in the meantime, RFE/RL will shut down the vast majority of its operations by the end of

June. Reply at 2, 4 (citing Fifth Declaration of Stephen Capus (“Fifth Capus Decl.”) ¶ 10, ECF

No. 56-6). In short, the promise of some unidentified amount of funding, at some unidentified

point in the future, does nothing to alleviate the irreparable harm that RFE/RL is facing now—

furloughing staff, shutting down security features, terminating leases, and gutting the infrastructure




                                                  2
       Case 1:25-cv-00799-RCL           Document 60       Filed 05/30/25      Page 3 of 4




of its business with each passing day. The Court therefore concludes that the instant TRO is

warranted to prevent the imminent collapse of RFE/RL.

       Finally, because RFE/RL is seeking the payment of a particular sum, i.e. $12,174,979, the

defendants ask the Court to order the posting of a bond equal to that size. TRO Opp’n at 4.

However, “where the defendants are already constitutionally required to distribute funds in

accordance with the yearly appropriations bill . . . a bond would merely impose a financial barrier

to litigation for plaintiffs seeking to vindicate their statutory and constitutional rights.”

Widakuswara. 2025 WL 1166400, at *17. For the same reasons articulated in Widakuswara, the

Court declines to impose bond here. See also April TRO at *8 (declining to impose bond in

factually identical circumstances).

       The Court observes that RFE/RL’s Motion for a Preliminary Injunction, ECF No. 41,

remains pending. The Court has withheld a decision on that motion in part to allow for the appeals

in various related cases take shape—but also in hopes that the parties would be able to enter a FY

25 Master Grant Agreement without further intervention from this Court. But that possibility is

looking increasingly unlikely as another month has ticked by, and the parties have made no

progress towards reaching an agreement. This Court has previously observed that “delayed,

broken down grant negotiations and indefinite withholding of congressionally appropriated funds,

with a statutorily created entity on the brink of collapse, creates a scenario begging for APA

review.” Widakuswara, 2025 WL 1166400, at *12. The Court intends to rule on the pending

preliminary injunction motion promptly to avoid ending up in this exact same position at the end

of June.




                                                3
        Case 1:25-cv-00799-RCL            Document 60     Filed 05/30/25     Page 4 of 4



        Therefore, upon consideration of the plaintiffs Motion [ECF No. 56] for a Temporary

Restraining Order, the defendants' Opposition thereto, the plaintiffs Reply, and the entire record

herein, it is hereby

        ORDERED that the plaintiffs Motion for a Temporary Restraining Order [ECF No. 56]

is GRANTED; and it is further

       ORDERED that Defendants are enjoined to immediately enter into a grant agreement with

Plaintiff covering May 2025 under the same terms and conditions applicable to the most recent

master grant agreement between the parties, in materially identical terms to the agreement between

the parties pertaining to April 2025; and it is further

       ORDERED that Defendants are enjoined to immediately disburse RFE /RL's May

funding in the amount of $12,174,979; and it is further

       ORDERED that Defendants file a status report within 72 hours of the issuance of this

Order, on June 2, 2025, apprising the Court of the status of their compliance with this Order,

including documentation sufficient to show the disbursement to Plaintiff of the funds Congress

appropriated through May 31, 2025.

       IT IS SO ORDERED.


Date: May � 2025                                          �£:.,�
           '-f:1<fP- ...                                  Royce C. Lamberth
                                                          United States District Judge




                                                  4
